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 6                         IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8                                             )    No. CV-18-00422-PHX-SPL
      United States of America,
 9                                             )
                                               )
                         Plaintiff,            )    ORDER
10                                             )
      vs.
11                                             )
                                               )
      Michael Lacey, et al.,                   )
12                                             )
13                       Defendants.           )
                                               )
14                                             )

15            Before the Court is Defendant Andrew Padilla’s (“Padilla”) Motion for Itemization

16   of Brady/Giglio Material (the “Motion”).1 (Doc. 273) The Motion was fully briefed on

17   September 18, 2018, and the Court heard oral argument at a hearing on October 5, 2018.

18   For the reasons set forth below, the Motion is denied.

19   I.       Background

20            On March 28, 2018, a federal grand jury returned a ninety-three count indictment

21   against several Defendants, including Padilla, alleging that the Defendants engaged in

22   various crimes related to the operation of the website Backpage.com, including conspiracy,

23   facilitating prostitution, and money laundering.     (Doc. 3)    The charges against the

24   Defendants were based on their work at Backpage.com (“Backpage”). (Doc. 273 at 2)

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27            The Court notes that the following Defendants have filed a joinder to the Motion:
     Joye Vaught (Doc. 275), Scott Spear (Doc. 276), James Larkin (Doc. 277), Michael Lacey
28   (Doc. 278), and John Brunst (Doc. 279). The Court also notes that Joye Vaugt filed a
     joinder to Andrew Padilla’s reply. (Doc. 318)
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 1          Padilla alleges that the Government began its investigation into Backpage
 2   approximately 5 years ago. (Doc. 273 at 2) On May 29, 2018, the Government disclosed
 3   to defense counsel two external hard drives of information, which the Government
 4   acknowledges contains approximately 10.4 million documents. (Doc. 273 at 2; Doc. 294
 5   at 5) The Court held a status conference on April 30, 2018, at which all parties present
 6   agreed to this form of discovery disclosure. (Doc. 294 at 4)
 7          On August 20, 2018, Padilla filed the Motion seeking an order from the Court
 8   requiring the Government to produce an itemized list of the exculpatory documents present
 9   in the discovery provided to the Defendants. (Doc. 273 at 5) The Government has declined
10   to provide the Defendants a list of the Brady material present in the discovery, arguing that
11   the discovery at issue was produced in an industry-standard, searchable format within the
12   time required by the Court. (Doc. 273 at 2, 4; Doc. 294 at 4–6) The Government argues
13   that Brady does not require it to parcel through discovery materials in order to separate and
14   identify anything favorable or helpful to the defense. (Doc. 294 at 7) In reply, Padilla
15   argues that without itemization, the Defendants will not have equal access to discovery.
16   (Doc. 310 at 6–7, 2, 8) On October 5, 2018, the Court heard argument on the pleadings,
17   and the arguments made by each party were taken under advisement.
18   II.    Discussion
19          The Government has limited discovery obligations. Rule 16 of the Federal Rules of
20   Criminal Procedure requires the Government to, upon a defendant’s request, provide or
21   allow the defendant access to documents and objects in the Government’s possession.
22   Under Rule 16, the Government must disclose any oral or written statements made by a
23   defendant, the defendant’s prior record, any items that are material to preparing the
24   defense, items that the Government intends to use in its case-in-chief, and items that were
25   obtained from or belong to the defendant. Fed. R.Crim. Pro. 16.
26          The due process clauses of the Fifth and Fourteenth Amendments to the
27   Constitution, as interpreted by the United States Supreme Court in Brady v. Maryland,
28   require the prosecution to learn of and disclose to the defense any exculpatory or


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 1   impeachment evidence favorable to the accused that is in the prosecution’s possession.
 2   Brady v. Maryland, 373 U.S. 83, 87 (1963). Brady places an affirmative duty on the
 3   prosecutor to seek out information in the government’s possession that is favorable to the
 4   defendant; here, the Government has the duty to affirmatively review its discovery
 5   materials in order to determine and acquire those materials which would be considered
 6   Brady exculpatory and Giglio impeaching materials. United States v. W. R. Grace, 401 F.
 7   Supp. 2d 1069, 1075–76 (D. Mont. 2005); Kyles v. Whitley, 514 U.S. 419, 437 (1995);
 8   United States v. Price, 566 F.3d 900, 908–909 (9th Cir. 2009). Giglio requires the
 9   Government to disclose impeachment evidence, including all promises, inducements, or
10   threats made to a witness in order to gain the cooperation of that witness in the investigation
11   or prosecution of the defendant. Giglio v. United States, 405 U.S. 150, 154 (1972).
12   However, the Government has no obligation to “single out” particular pieces of exculpatory
13   evidence that are beneficial to the Defendants. Rhoades v. Henry, 638 F.3d 1027, 1039 (9th
14   Cir. 2011).
15          It is well settled that courts have the discretion to order the Government to identify
16   Brady material for the defense as a matter of case management and fairness. United States
17   v. Salyer, 2010 WL 3036444, at *2 (E.D. Cal. Aug. 2, 2010) (citing W R Grace, 526 F.3d
18   at 509–510). This is so even though there is no direct obligation for the Government to
19   identify or itemize Brady material for the defense. Rhoades v. Henry, 638 F.3d at 1039
20   (stating that there is no authority for the proposition that the government’s Brady
21   obligations require it to point the defense to specific documents within a larger mass of
22   material that it has already turned over). When deciding whether itemization of Brady
23   material is required in circumstances of voluminous discovery, courts have held that the
24   Government meets its Brady obligations when it provides discovery materials in a
25   searchable electronic format with indices describing the documents contained therein. W.
26   R. Grace, 401 F. Supp. 2d at 1080; United States v. Weaver, 992 F. Supp. 2d 152, 156
27   (E.D.N.Y. 2014). Courts have also considered the relative position of the defendant
28   requesting identification of Brady material, such as (i) a defendant’s access to counsel, (ii)


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 1   whether the defendant is incarcerated, (iii) a defendant’s access to resources, (iv) a
 2   defendant’s ability to participate in the preparation of his own defense, and (v) whether the
 3   interests of multiple defendants are aligned. United States v. AU Optronics Corp., 2011
 4   WL 6778520, at 2 (N.D. Cal. Dec. 23, 2011); United States v. Rubin/Chambers, Dunhill
 5   Ins. Servs., 825 F. Supp. 2d 451, 456 (S.D.N.Y. 2011).
 6          Neither Padilla nor the Government points the Court to controlling precedent on the
 7   issue of whether the Court should require the Government to identify Brady material for
 8   the Defendants. However, based on the aforementioned factors considered by other courts,
 9   the Court finds that the Government has met its burden of disclosure and should not have
10   to take the additional step of itemizing Brady materials for the Defendants.            The
11   Government states that it has provided defense counsel with two hard drives of discovery,
12   amounting to approximately 10.4 million pages of documents, in searchable electronic
13   format. (Doc. 294 at 5) The Government also (i) provided the Defendants with indices
14   with descriptions and bates numbers for the documents, (ii) provided the Defendants with
15   a subset of “hot” documents related to the allegations in the indictment, (iii) directed the
16   Defendants to the specific Backpage.com ads referenced in the indictment, and (iv)
17   provided access to a Department of Justice discovery specialist to assist the Defendants
18   with any technical questions. (Doc. 294 at 1–2) The Court finds that the method by which
19   discovery was produced and the additional amenities provided to the Defendants, along
20   with the fact that trial is at least 12 months away, weighs against the Court requiring the
21   Government to take the additional step of itemizing Brady and Giglio material for the
22   Defendants.
23          Padilla relies heavily on the Salyer case to argue that voluminous discovery requires
24   itemization of Brady material from the Government. United States v. Salyer, 2010 WL
25   3036444 (E.D. Cal. Aug. 2, 2010).         In Salyer, the Government submitted multiple
26   gigabytes of electronic information, consisting of millions of pages of documentary
27   information, to the defendant without identifying any Brady materials. Id. at 3. In an
28   unreported opinion, the U.S. District Court for the Eastern District of California upheld its


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 1   order requiring the Government to identify Brady and Giglio material for the defense. Id.
 2   at 8. However, the Court finds that this case is distinguishable from Salyer because the
 3   defendant in Salyer was incarcerated and without meaningful access to counsel or the
 4   voluminous discovery provided by the Government. Id. at 7 (identifying the defendant as
 5   “a singular, individual defendant, who is detained in jail pending trial, and who is
 6   represented by a relatively small defense team,” without “access to voluntary corporate
 7   assistance in attempting to find the documents needed by the defense,” and “little practical
 8   ability in the jail setting to be of much assistance in the search as he can do no document
 9   review, either hard copy or electronically, absent the physical presence of counsel in the
10   jail.”) The circumstances present in Salyer are vastly different from this case, as none of
11   the Defendants are incarcerated and each of them is zealously represented by counsel with
12   seemingly unlimited access to legal resources.
13           Padilla’s reliance on the U.S. v. Hsia precedent from the U.S. District Court for the
14   District Columbia is also misplaced because Hsia was a traditional paper case in which the
15   defendant was provided with approximately 600,000 hard-copy documents. United States
16   v. Hsia, 24 F. Supp. 2d 14, 29 (D.D.C. 1998). The method of disclosure in Hsia was
17   logistically distinguishable from the searchable electronic discovery provided to the
18   Defendants in this case. Finally, the decision in U.S. v. Cutting in the U.S. District Court
19   for the Northern District of California is distinguishable because there is no evidence that
20   the Government’s production of discovery in this case has had any issues that would
21   impede the Defendants’ ability to search the documents provided in discovery. United
22   States v. Cutting, 2017 WL 132403, at *10 (N.D. Cal. Jan. 12, 2017). Accordingly, the
23   Court does not find the Salyer, Hsia, or Cutting precedents controlling or persuasive in this
24   case.
25           Because the Government is under no general obligation to identify Brady or Giglio
26   material within voluminous discovery disclosure and Padilla has failed to persuade the
27   Court that an exception to this general rule is warranted here, the Motion is denied.
28   However, the Court notes that at the October 5th hearing the Government stipulated that it


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 1   will turn over any Brady/Giglio material that it comes across in the future to the Defendants
 2   within 10 days. The Court implores the Government to abide by this stipulation, without
 3   an order from the Court.
 4   Accordingly,
 5          IT IS ORDERED:
 6          That Defendant’s Motion for Itemization of Brady/Giglio Material (Doc. 273) is
 7   denied.
 8          Dated this 15th day of October, 2018.
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11                                                     Honorable Steven P. Logan
12                                                     United States District Judge

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